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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division




   United States of America,

                         Plaintiff,

           V.                                               Civil Action No. 1:19-cr-00059
                                                            Hon. Liam O'Grady
   Daniel Everette Hale,

                         Defendants.




                                           ORDER


       This matter comes before the Court on the Government's Motion to Admit an Anonymous

Writing as an Admission of the Defendant (dkt. 54), the Government's Motion In Limine to

Exclude Certain Evidence, Argument,or Comment at Trial (dkt. 56), the Government's Motion In

Limine to Allow the Redaction from Government Exhibits of Pages that Were Printed but Not

Published (dkt. 58) and Defendant Daniel Everette Hale's Motion to Compel Production of

Unredacted Version of Classified Document(Bates No. 13318-13325)(dkt. 141). These motions

were all brought before the Court for hearing on October 13, 2020.

       The Court hereby ORDERS that the Government's Motion to Admit an Anonymous

Writing as an Admission of the Defendant (dkt. 54) is GRANTED, as the Court stated in the

October 13 hearing; the government will be permitted to present the book chapter attributed to an

anonymous author. Federal Rule ofEvidence 901(a)requires the proponent ofa piece ofevidence

to authenticate it before it can be admitted. United States v. Smith,918 F.2d 1501,1510(11th Cir.

1990). The Court's role in determining whether evidence is authentic is limited to that of a
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